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                                SO ORDERED: December 11, 2018.




                                ______________________________
                                Robyn L. Moberly
                                United States Bankruptcy Judge




                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


    In re:                                                  Chapter 11
                            1
    USA GYMNASTICS,                                         Case No. 18-09108-RLM-11

                            Debtor.


   ORDER GRANTING DEBTOR’S MOTION FOR AN ORDER (I) AUTHORIZING
          THE DEBTOR TO FILE A REDACTED CREDITOR MATRIX
           AND REDACTED AMENDED CREDITOR MATRICES; AND
(II) DEEMING THE PROCEDURES TO SATISFY LOCAL RULES B-1007 AND B-1009

             This matter came before the Court on the Motion For An Order (I) Authorizing The Debtor

To File A Redacted Creditor Matrix And Redacted Amended Creditor Matrices; And (II) Deeming

The Procedures To Satisfy Local Rules B-1007 And B-1009 (the “Motion”) filed by USA

Gymnastics (the “Debtor”) for an order pursuant to section 107(b) of title 11 of the United States

Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”) and Rules B-1007, B-1009, and B-9013-




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 The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
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3 of the Local Rules of the United States Bankruptcy Court for the Southern District of Indiana

(the “Local Rules”); and upon consideration of the Declaration of James Scott Shollenbarger; and

the Court finds that (i) it has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334;

(ii) this matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2); (iii) the relief

requested in the Motion is in the best interests of the Debtor, its estate, and creditors, and any party

in interest; and after due deliberation, and good and sufficient cause appearing therefore, the Court

hereby determines the Motion should be GRANTED.

        IT IS HEREBY ORDERED:

        1.      The Motion is granted as set forth herein.

        2.      The automatic stay is modified solely to permit the Debtor to seek modification of

the Amended Confidentiality and Protective Order entered as Dkt. No. 526 (the “Protective

Order”) in the consolidated actions pending in the United States District Court for the Western

District of Michigan under Lead Case No. 1:17-cv-00029-GJQ-ESC, entitled Denhollander, et al.

v. Michigan State University, et al. to permit the Debtor to provide an unredacted copy of the

Creditor Matrix to the United States Trustee’s Office and for no other purpose.

        3.      The Debtor is authorized to file a redacted copy of the Creditor Matrix and redacted

copies of any Amended Creditor Matrices with respect to the Doe Claimants and the Employees

(each as defined in the Motion), subject to the following procedures (the “Procedures”):

                a.      The Debtor shall provide an unredacted copy of the Creditor Matrix and any
                        Amended Creditor Matrices to the United States Trustee’s Office within
                        two (2) business days of the date on which the Protective Order is amended
                        to permit the Debtor to provide an unredacted coy of the Creditor Matrix to
                        the United States Trustee’s Office; and

                b.      In the event Omni Management Group (the “Claims and Noticing Agent”)
                        ceases to be the Debtor’s Claims and Noticing Agent, and the Debtor has
                        not employed a substitute claims and noticing agent, the Debtor shall
                        provide an unredacted copy of the Creditor Matrix and any Amended
                        Creditor Matrices to the Clerk of the Court.
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               c.     To the extent the Debtor provides unredacted copies of the Creditor Matrix
                      or any Amended Creditor Matrix to the United States Trustee’s Office or to
                      the Clerk of the Court those matrices shall be kept confidential and, under
                      no circumstances will the information be disclosed hereafter, without
                      further order of this Court.

       4.      The Procedures satisfy the requirements of Local Rules B-1007-1 and B-1009.

       5.      Notwithstanding any Bankruptcy Rule or Local Rule that might otherwise delay the

effectiveness of this Order, the terms and conditions of this Order shall be immediately effective

and enforceable upon its entry.

       6.      The Debtor is authorized to take all such actions as are necessary or appropriate to

implement the terms of this Order.

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